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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  EVANSVILLE DIVISION



     TOWER REINFORCEMENT, INC.,                   Civil Action No. 3:12-cv-00060-SEB-
                                                  WGH

                                   Plaintiff,

                     v.

     CROWN CASTLE INTERNATIONAL
     CORP., CROWN CASTLE OPERATING
     CO., CROWN CASTLE U.S.A, INC. and
     AERO SOLUTIONS, LLC,

                                   Defendants.



                           ANSWER AND COUNTERCLAIMS OF AERO
                              SOLUTIONS, LLC TO COMPLAINT


            For Its Answer to the Complaint, defendant Aero Solutions, LLC ("Aero") states and

     alleges as follows:

                                            THE PARTIES

            1. Aero is without knowledge or information sufficient to form a belief as to the truth

     of the allegations contained in paragraph 1 of the Complaint.

            2. Aero is without knowledge or information sufficient to form a belief as to the truth

     of the allegations contained in paragraph 2 of the Complaint.

            3. Aero is without knowledge or information sufficient to form a belief as to the truth

     of the allegations contained in paragraph 3 of the Complaint.




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             4. Aero is without knowledge or information sufficient to form a belief as to the truth

     of the allegations contained in paragraph 4 of the Complaint.

             5. This paragraph does not set out a factual averment and does not require an answer.

             6. Admitted.



                                    JURISDICTION AND VENUE

             7. Aero admits that the Complaint purports to state a cause of action for patent

     infringement under Title 35 of the United States Code but denies that plaintiff has any such

     cause of action. Aero does not contest subject matter jurisdiction.

             8. The allegations of paragraph 8 are not directed to Aero and, therefore, no answer

     is required.

             9. Aero does not contest personal jurisdiction in this judicial district but denies that it

     has committed any acts of patent infringement in this judicial district or in any other district.

             10. Aero does not contest venue in this district.



                                      THE ASSERTED PATENTS

             11. Aero repeats and reasserts its responses to the repeated allegations of paragraph

     1-10 of the Complaint as if fully set forth herein.

             12. Aero admits that United States Patent No. 7,849,659 ("the '659 patent") shows on

     its face that it was issued on December 14, 2010 but denies that it was duly and legally issued

     by the United States Patent and Trademark Office. Aero admits that a copy of the '659 patent

     was attached to the Complaint as Exhibit A. Aero is without knowledge sufficient to form a

     belief as to the truth of the remaining allegations of paragraph 12 of the Complaint.



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             13. Aero admits that United States Patent No. 8,046,972 ("the '972 patent") shows

     on its face that it was issued on November 1, 2011 but denies that it was duly and legally

     issued by the United States Patent and Trademark Office. Aero admits that a copy of the

     '972 patent was attached to the Complaint as Exhibit B. Aero is without knowledge

     sufficient to form a belief as to the truth of the remaining allegations of paragraph 13 of the

     Complaint.

             14. Aero admits that United States Patent No. 8,156,712 ("the '712 patent") shows

     on its face that it was issued on April 17, 2012 but denies that it was duly and legally issued

     by the United States Patent and Trademark Office. Aero admits that a copy of the '712 patent

     was attached to the Complaint as Exhibit C. Aero is without knowledge sufficient to form a

     belief as to the truth of the remaining allegations of paragraph 14 of the Complaint.



                                              COUNTS I-III

             15-35. The allegations of paragraphs 15 through 35 of the Complaint are not directed

     to Aero; and, accordingly, no answer is required.



               COUNT IV: ALLEGED INFRINGEMENT OF THE '659 PATENT

             36. Aero repeats and reasserts its responses to the repeated allegations of paragraphs

     1 through 35 as if fully set forth herein.

             37. Denied.

             38. Denied.

             39. Denied.

             40. Denied.



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             41. Denied.

             42. Denied.



                COUNT V: ALLEGED INFRINGEMENT OF THE '972 PATENT

             43. Aero repeats and reasserts its responses to the repeated allegations of paragraphs

     1 through 42 as if fully set forth herein.

             44. Denied.

             45. Denied.

             46. Denied.

             47. Denied.

             48. Denied.

             49. Denied.



               COUNT VI: ALLEGED INFRINGEMENT OF THE '712 PATENT

             50. Aero repeats and reasserts its responses to the repeated allegations of paragraphs

     1 through 49 as if fully set forth herein.

             51. Denied.

             52. Denied.

             53. Denied.

             54. Denied.

             55. Denied.

             56. Denied.




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                                     AFFIRMATIVE DEFENSES

            By and for its affirmative defenses, Aero alleges as follows:



                                  FIRST AFFIRMATIVE DEFENSE

            57. The Complaint fails to state a claim upon which relief may be granted.



                                SECOND AFFIRMATIVE DEFENSE

            58. The Complaint in this action is defective in that it fails to specify what claims of

     the '659 patent, the '972 patent, and the '712 patent are allegedly infringed by Aero.



                                 THIRD AFFIRMATIVE DEFENSE

            59. Aero has not infringed and is not now infringing any valid and enforceable claim

     of the '659 patent, the '972 patent, and the '712 patent, and is not liable for infringement

     thereof.



                                FOURTH AFFIRMATIVE DEFENSE

            60. The claims of the '659 patent, the '972 patent, and the '712 patent asserted by

     Plaintiff against Aero in this litigation are anticipated and/or made obvious by prior art and

     are invalid under 35 U.S.C. §§102 and 103.



                                  FIFTH AFFIRMATIVE DEFENSE

            61. Upon information and belief, and as will likely be supported by the evidence

     after a reasonable opportunity for further investigation and discovery, those claims of the



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     '659 patent, the '972 patent, and the '712 patent asserted by Plaintiff against Aero in this

     litigation are invalid for failure to comply with the conditions and requirements for

     patentability specified in Title 35 U.S.C., including, but not limited to, 35 U.S.C. §112.



                                  SIXTH AFFIRMATIVE DEFENSE

            62. Upon information and belief, and as will likely be supported by the evidence

     after a reasonable opportunity for further investigation and discovery, those claims of the

     '659 patent, the '972 patent, and the '712 patent asserted by Plaintiff against Aero are so

     limited by the prior art, by their terms, and/or by representations made to the United States

     Patent and Trademark Office during prosecution of the applications that resulted in the issued

     patents, that Plaintiff is barred by estoppel from asserting infringement thereof by Aero.



                               SEVENTH AFFIRMATIVE DEFENSE

            63. Plaintiff's claims are barred, in whole or in part, by the equitable doctrines of

     waiver, laches, and/or acquiescence.



                                EIGHTH AFFIRMATIVE DEFENSE

            64. To the extent that Plaintiff seeks damages for any alleged infringement prior to

     its giving actual notice of the patents-in-suit to Aero, its claims are barred pursuant to 35

     U.S.C. §287(a).



                                 NINTH AFFIRMATIVE DEFENSE

            65. Plaintiff is precluded from recovery of its costs under 35 U.S.C. §288.



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                                   TENTH AFFIRMATIVE DEFENSE

               66. Aero reserves the right to raise additional affirmative defenses as they arise

     during the course of discovery.



                                         DEMAND FOR RELIEF

               WHEREFORE, Aero demands that:

               A. Plaintiff's Complaint against Aero be dismissed with prejudice and that judgment

     be entered for Aero;

               B. This case be adjudged and decreed exceptional under 35 U.S.C. §285 entitling

     Aero to award of its reasonable attorneys fees, and that such reasonable attorneys fees be

     awarded;

               C. Aero be awarded its costs and expenses;

               D. Aero be awarded such other and further relief as the Court decrees just and

     proper.



                       COUNTERCLAIM FOR DECLARATORY JUDGMENT

               Aero, for its counterclaim for declaratory judgment against Plaintiff, alleges as

     follows:




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                                             THE PARTIES

            1. Defendant, Aero Solutions, LLC ("Aero"), is a limited liability company organized

     and existing under the laws of the State of Colorado, with its principal place of business

     located at 5500 Flatiron Parkway, Suite 100, Boulder, Colorado 80301.

            2. Upon information and belief, Plaintiff Tower Reinforcement, Inc. ("Tower"), is a

     corporation organized and existing under the laws of the State of Indiana having its principal

     place of business at 4763 Rosebud Lane, Suite A, Newburgh, Indiana, 47630.



                                    JURISDICTION AND VENUE

            3. This action arises under the Patent Laws of the United States, Title 35, United

     States Code. Jurisdiction is invoked pursuant to 28 U.S.C. §§1331 and 1338(a) and the

     Federal Declaratory Judgment Act, 28 U.S.C. §§2201 and 2202 for declaratory judgment of

     invalidity and noninfringement of United States Patent Nos. 7,849,659 (the "'659 patent"),

     8,046,972 ("the '972 patent"), and 8,156,712 ("the '712 patent"). Copies of the '659 patent,

     the '972 patent, and the '712 patent are attached to Plaintiff's Complaint as Exhibits A, B, and

     C, respectively.

            4. This action is based upon an actual and continuing controversy between the parties

     with respect to the purported validity and infringement of the '659 patent, the '972 patent, and

     the '712 patent.

            5. Based upon Plaintiff's initiating this action in this judicial district, and Plaintiff

     being an Indiana corporation, this Court has personal jurisdiction over Plaintiff.

            6. Venue in this Court is based upon 28 U.S.C. §§1391 and 1400(b).




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                                                COUNT I

            7. Based upon the Complaint filed by Plaintiff Tower, in which Tower alleges

     infringement by Aero of the '659 patent, the '972 patent, and the '712 patent, there is an actual

     controversy pursuant to 28 U.S.C. §2201 regarding the validity and infringement of the

     claims of those patents.

            8. Aero has not and is not now infringing any valid and enforceable claim of the '659

     patent, the '972 patent, and the '712 patent, and has not contributed to or induced and is not

     otherwise contributing to or inducing infringement of any valid and enforceable claim of the

     '659 patent, the '972 patent, and the '712 patent.

            9. The '659 patent, the '972 patent, and the '712 patent are invalid and void for failure

     to comply with the statutory requirements of patentability specified in Title 35 U.S.C.

     including, but not limited to, 35 U.S.C. §§102, 103 and 112.

                                        DEMAND FOR RELIEF

            WHEREFORE, Aero demands:

            A. That a declaratory judgment be entered that U.S. Patent No. 7,849,659 is invalid

     and void.

            B. That a declaratory judgment be entered that U.S. Patent No. 8,046,972 is invalid

     and void.

            C. That a declaratory judgment be entered that U.S. Patent No. 8,156,712 is invalid

     and void.

            D. That a declaratory judgment be entered that Aero has not infringed and is not

     infringing any valid and enforceable claim of United States Patent No. 7,849,659, and has not




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     contributed to or induced and is not contributing to or inducing infringement of any valid and

     enforceable claim of the '659 patent.

            E. That a declaratory judgment be entered that Aero has not infringed and is not

     infringing any valid and enforceable claim of United States Patent No. 8,046,972, and has not

     contributed to or induced and is not contributing to or inducing infringement of any valid and

     enforceable claim of the '972 patent.

            F. That a declaratory judgment be entered that Aero has not infringed and is not

     infringing any valid and enforceable claim of United States Patent No. 8,156,712, and has not

     contributed to or induced and is not contributing to or inducing infringement of any valid and

     enforceable claim of the '712 patent.

            G. That the costs of this action be adjudged against Tower.

            H. That this case be adjudged and decreed exceptional pursuant to 35 U.S.C. §285,

     and that Aero be awarded its reasonable attorneys fees.

            I. That Aero be awarded other and further relief as the Court deems just and proper.



                                    DEMAND FOR JURY TRIAL

            Pursuant to Federal Rules of Civil Procedure 38, Defendant-Counterclaimant Aero

     hereby demands a trial by jury on all issues so triable.

                                                   Respectfully submitted,



     Dated: July 6, 2012                           s/ J. Robert Chambers
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                                    CERTIFICATE OF SERVICE

              I certify that on the 6th day of July, 2012, a copy of the foregoing Answer and
     Counterclaims of Aero Solutions, LLC to Complaint was filed electronically. Notice of
     this filing will be sent to the following parties by operation of the Court’s electronic filing
     system. Parties may access this filing through the Court’s system.

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                                                           s/ J. Robert Chambers



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